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   EXHIBIT # 2
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                              UNITED STATES FEDERAL COURT
                             SOUTHERN DISTRICT OF NEW YORK


 RODNEY JONES,

                Plaintiff,                     Case Number: 24-1457

 v.                                            Voluntary Dismissal

 SEAN COMBS,
 JUSTIN DIOR COMBS
 CUBA GOODING JR.,
 LUCIAN CHARLES GRAINGE,
 KRISTINA KHORRAM,
 LOVE RECORDS,
 MOTOWN RECORDS,
 UNIVERSAL MUSIC GROUP,
 COMBS GLOBAL ENTERPRISES,
 JOHN and JANE DOES 1-10 and
 ABC CORPORATIONS. 1-10

               Defendants.


PLAINTIFFS VOLUNTARY DISMISS OF LUCIAN CHARLES GRAINGE, MOTOWN
RECORDS, AND UNIVERSAL MUSIC GROUP (“UNIVERSAL DEFENDANTS”) FOR
    ALL CLAIMS REFERENCED IN THE SECOND AMENDED COMPLAINT

       PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 41(a)(2), the plaintiff requests

that the Court enter an order dismissing the Universal Defendants from all claims they are

referenced in the Second Amended Complaint With Prejudice.

       PLEASE TAKE NOTICE that the Universal Defendants consent to this request, as

evidenced by the signature below:


T. A. BLACKBURN LAW, PLLC.                             PRYOR CASHMAN, LLP
By:                                                    By:
Tyrone A. Blackburn, Esq.                              Donald S. Zakarin, Esq.
Attorney for Plaintiff                                 Attorney for Universal Defendants
